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                                                                September 23, 2021
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  7                     UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
  8
  9   Bureau of Consumer Financial Protection, )
                                               ) Case No.: 8-20-cv-00043-SB-ADS
 10                    Plaintiff,              )
                                               ) JUDGMENT AGAINST JAWAD
 11               vs.                          ) NESHEIWAT
                                               )
 12   Chou Team Realty, LLC, et al.,           )
                                               )
 13                    Defendants.             )
                                               )
 14                                            )
 15
 16         Plaintiff Bureau of Consumer Financial Protection (“Bureau”) filed a
 17   motion for summary judgment under Federal Rule of Civil Procedure 56 against
 18   Defendant Jawad Nesheiwat (“Defendant”). On August 10, 2021, after
 19   considering the pleadings, declarations, exhibits, summary-judgment briefing,
 20   evidentiary objections, and the entire record in this matter, the Court granted the
 21   Bureau’s motion for summary judgment against Defendant on all claims and
 22   found that injunctive relief, restitution, and a civil money penalty were
 23   appropriate remedies in this case. Dkt. No. 233. The Court also filed a separate
 24   Order today addressing Defendant’s objections to the proposed Judgment filed
 25   by the Bureau. Accordingly, the Court finds good cause to grant the following
 26   relief against Defendant.
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  1   IT IS HEREBY ORDERED, ADJUDGED, AND DECREED as follows:
  2                                      FINDINGS
  3         1.     This is an action instituted by the Bureau under the Fair Credit
  4   Reporting Act (“FCRA”), 15 U.S.C. § 1681; the Telemarketing Sales Rule
  5   (“TSR”), 16 C.F.R. Part 310, the implementing regulation of the Telemarketing
  6   and Consumer Fraud and Abuse Prevention Act, 15 U.S.C. §§ 6102(c)(2),
  7   6105(d); and the Consumer Financial Protection Act of 2010 (“CFPA”), 12
  8   U.S.C. §§ 5531(a), 5536(a)(1)(A). The Second Amended Complaint seeks
  9   permanent injunctive relief, rescission or reformation of contracts,
 10   disgorgement, damages, redress, and civil money penalties. The Bureau has the
 11   authority to seek this relief. 12 U.S.C. § 5565.
 12         2.     This Court has subject-matter jurisdiction over this action because
 13   it was brought under federal consumer-financial law, 12 U.S.C. § 5565(a)(1),
 14   presents a federal question, 28 U.S.C. § 1331, and the plaintiff is an agency of
 15   the United States, 28 U.S.C. § 1345.
 16         3.     Sections 1054 and 1055 of the CFPA, 12 U.S.C. §§ 5564, 5565,
 17   empower this Court to order injunctive and other equitable and legal relief
 18   against Defendant for violations of FCRA, the TSR, and the CFPA, and to
 19   award restitution, damages, refund of moneys, disgorgement of ill-gotten gains
 20   resulting from Defendant’s unlawful practices, and civil money penalties for
 21   violations of the Federal consumer-financial laws.
 22         4.     Uncontroverted facts show that, since February 2015, the Student
 23   Loan Debt Relief Companies charged Affected Consumers approximately
 24   $19,699,870 in fees paid by Affected Consumers (not including fees that were
 25   refunded to consumers).
 26         5.     Because of his violations of the TSR and CFPA, Defendant is
 27   jointly and severally liable for the full amount of fees paid by Affected
 28   consumers to the Student Loan Debt Relief Companies. Pursuant to the Court’s

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  1   authority to award legal restitution, the Bureau is entitled to a judgment for
  2   monetary relief of $19,699,870 against Defendant as redress for the fees paid by
  3   Affected Consumers. This restitution is owed jointly and severally with the
  4   Student Loan Debt Relief Companies in the amounts imposed in the default
  5   judgment entered against each of them at Dkt. No. 177.
  6         6.     Defendant has recklessly violated FCRA, the TSR, and the CFPA,
  7   warranting a second tier civil money penalty of $20,000,000. 12 U.S.C.
  8   § 5565(c)(2)(B).
  9         7.     This action and the relief awarded herein are in addition to, and not
 10   in lieu of, other remedies as may be provided by law, including both civil and
 11   criminal remedies.
 12         8.     Entry of this Judgment is in the public interest.
 13                                     DEFINITIONS
 14         9.     The following definitions apply to this Order:
 15                 a. “Affected Consumers” includes all consumers who, since
 16                      February 1, 2015, were charged fees by any of the Student
 17                      Loan Debt Relief Companies.
 18                 b. “Assisting Others” includes but is not limited to:
 19                          i.   formulating or providing, or arranging for the
 20                               formulation or provision of, any advertising or
 21                               marketing material, including but not limited to any
 22                               telephone-sales script, direct-mail solicitation, or the
 23                               text of any Internet website, email, or other electronic
 24                               communication;
 25                         ii.   providing names of, or contributing to the generation
 26                               of, potential customers;
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  1                       iii.   participating in or providing services related to the
  2                              offering, sale, or servicing of a product, or the
  3                              collection of payments for a product;
  4                       iv.    acting or serving as an owner, officer, director,
  5                              manager, principal, partner, limited partner, member,
  6                              employee, independent contractor, or agent of any
  7                              entity; and
  8                        v.    investing or loaning money.
  9              c. “Bureau” means the Bureau of Consumer Financial Protection.
 10              d. “Consumer Financial Product or Service” is synonymous in
 11                 meaning and equal in scope to the definition of the term in the
 12                 CFPA, 12 U.S.C. § 5481(5), and, subject to applicable
 13                 restrictions contained in the CFPA, includes but is not limited
 14                 to:
 15                         i.   extending credit and servicing loans, including
 16                              acquiring, purchasing, selling, brokering, or other
 17                              extensions of credit (other than solely extending
 18                              commercial credit to a person who originates
 19                              consumer credit transactions);
 20                        ii.   providing financial advisory services to consumers on
 21                              individual consumer financial matters or relating to
 22                              proprietary financial products or services, including
 23                              providing credit counseling to any consumer or
 24                              providing services to assist a consumer with debt
 25                              management or debt settlement, modifying the terms
 26                              of any extension of credit, or avoiding foreclosure;
 27                              and
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  1                    iii.   engaging in deposit-taking activities, transmitting or
  2                           exchanging funds, or otherwise acting as a custodian
  3                           of funds or any financial instrument for use by or on
  4                           behalf of a consumer.
  5              e. “Consumer Report” means a “consumer report,” as that term is
  6                 defined in § 603(d) of FCRA, 15 U.S.C. § 1681a(d).
  7              f. “Consumer Reporting Agency” means a “consumer reporting
  8                 agency,” as that term is defined in § 603(f) of FCRA, 15
  9                 U.S.C. § 1681a(f).
 10              g. “Debt-Relief Service” means any product, service, plan, or
 11                 program represented, directly or by implication, to renegotiate,
 12                 settle, or in any way alter the terms of payment or other terms
 13                 of the debt, including but not limited to a student-loan debt,
 14                 mortgage-loan debt, credit-card debt, or tax debt or obligation,
 15                 between a person and one or more creditors or debt collectors,
 16                 including but not limited to a reduction in the balance, interest
 17                 rate, or fees owed by a person to a creditor or debt collector.
 18              h. “Defendant” means Jawad Nesheiwat, and any other names by
 19                 which he may be known.
 20              i. “Dwelling” means a residential structure containing four or
 21                 fewer units, whether or not that structure is attached to real
 22                 property, that is primarily for personal, family, or household
 23                 purposes. The term includes any of the following if used as a
 24                 residence: an individual condominium unit, cooperative unit,
 25                 mobile home, manufactured home, or trailer.
 26              j. “Effective Date” means the date on which the Order is entered
 27                 on the docket.
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  1              k. “Enforcement Director” means the Assistant Director of the
  2                 Office of Enforcement for the Bureau of Consumer Financial
  3                 Protection, or his or her delegate.
  4              l. “Mortgage Loan” means any loan secured by a dwelling, and
  5                 any associated deed of trust or mortgage.
  6              m. “Prescreened Consumer Reports” means Consumer Reports
  7                 relating to consumers furnished by a Consumer Reporting
  8                 Agency in connection with credit or insurance transactions that
  9                 are not initiated by the consumers, pursuant to 15 U.S.C.
 10                 § 1681b(c).
 11              n. “Related Consumer Action” means a private action by or on
 12                 behalf of one or more consumers or an enforcement action by
 13                 another governmental agency brought against Defendant based
 14                 on substantially the same facts as described in the Second
 15                 Amended Complaint.
 16              o. “Student Loan Debt Relief Companies” means Docu Prep
 17                 Center, Inc., d/b/a DocuPrep Center, d/b/a Certified Document
 18                 Center; Document Preparation Services, LP, d/b/a DocuPrep
 19                 Center, d/b/a Certified Document Center; Certified Doc Prep,
 20                 Inc.; Certified Doc Prep Services, LP; Assure Direct Services,
 21                 Inc.; Assure Direct Services, LP; Direct Document Solutions,
 22                 Inc.; Direct Document Solutions, LP; Secure Preparation
 23                 Services, Inc.; Secure Preparation Services, LP, and their
 24                 successors and assigns, individually, collectively, or in any
 25                 combination.
 26              p. “Telemarketing” means a plan, program, or campaign that is
 27                 conducted to induce the purchase of goods or services or a
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  1                      charitable contribution, by use of one or more telephones and
  2                      which involves more than one interstate phone call.
  3
                                            ORDER
  4                                             I.
  5          Permanent Ban on Offering or Providing Debt-Relief Services
  6   IT IS ORDERED that:
  7         10.      Defendant, whether acting directly or indirectly, is permanently
  8   restrained from:
  9               a. participating in, advertising, marketing, promoting, offering for
 10                  sale, selling, or providing any Debt-Relief Service; and
 11               b. Assisting Others in, or receiving any remuneration or other
 12                  consideration from, the provision, advertising, marketing,
 13                  promoting, offering for sale, sale, or production of any Debt-Relief
 14                  Service.
 15   Nothing in this Order shall be read as an exception to this paragraph.
 16                                            II.
 17            Permanent Ban on Offering or Providing Mortgage Loans
 18   IT IS FURTHER ORDERED that:
 19         11.      Defendant, whether acting directly or indirectly, is permanently
 20   restrained and enjoined from:
 21               a. participating in, advertising, marketing, promoting, offering for
 22                  sale, selling, or providing any Mortgage Loan; and
 23               b. Assisting Others in, or receiving any remuneration or other
 24                  consideration from, the provision, advertising, marketing,
 25                  promoting, offering for sale, sale, or production of any Mortgage
 26                  Loan.
 27   Nothing in this Order shall be read as an exception to this paragraph.
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  1                                          III.
  2                          Permanent Ban on Telemarketing
  3                      Consumer Financial Products or Services
  4   IT IS FURTHER ORDERED that:
  5         12.    Defendant, whether acting directly or indirectly, is permanently
  6   restrained and enjoined from participating in Telemarketing or Assisting Others
  7   engaged in Telemarketing any Consumer Financial Product or Service. Nothing
  8   in this Order shall be read as an exception to this paragraph.
  9                                          IV.
 10     Permanent Ban on Using or Obtaining Prescreened Consumer Reports
 11   IT IS FURTHER ORDERED that:
 12         13.    Defendant, whether acting directly or indirectly, is permanently
 13   restrained and enjoined from using, obtaining, offering, providing, selling, or
 14   arranging for others to use or obtain Prescreened Consumer Reports for any
 15   purpose. Nothing in this Order shall be read as an exception to this paragraph.
 16                                           V.
 17                        Permanent Ban on Using or Obtaining
 18                     Consumer Reports for Any Business Purpose
 19   IT IS FURTHER ORDERED that:
 20         14.    Defendant, and his officers, agents, servants, employees, and
 21   attorneys, and all other persons in active concert or participation with them,
 22   who receive actual notice of this Order, whether acting directly or indirectly,
 23   are permanently restrained and enjoined from using, obtaining, offering,
 24   providing, selling, or arranging for others to use or obtain Consumer Reports
 25   for any business purpose. Nothing in this Order shall be read as an exception to
 26   this paragraph.
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  1                                           VI.
  2                                 Consumer Information
  3   IT IS FURTHER ORDERED that:
  4         15.      Defendant and his officers, agents, servants, employees, and
  5   attorneys, and all other persons in active concert or participation with them,
  6   who receive actual notice of this Order, whether acting directly or indirectly,
  7   may not:
  8               a. disclose, use, or benefit from consumer information, including the
  9                  name, address, or any information about the consumer’s student
 10                  loans, contained in or derived from Prescreened Consumer Reports
 11                  obtained for use in marketing Debt-Relief Services; or
 12               b. disclose, use, or benefit from consumer information, including the
 13                  name, address, telephone number, email address, social-security
 14                  number, other identifying information, or any data that enables
 15                  access to a customer’s account (including a credit card, bank
 16                  account, or other financial account), obtained from or through the
 17                  activities of the Student Loan Debt Relief Companies.
 18         However, consumer information may be disclosed if lawfully requested
 19   by a government agency or required by law, regulation, or court order.
 20                             MONETARY PROVISIONS
 21                                           VII.
 22                                 Order to Pay Redress
 23   IT IS FURTHER ORDERED that:
 24         16.      A judgment for monetary relief is entered in favor of the Bureau
 25   and against Defendant in the amount of $19,699,870 for the purpose of
 26   providing redress to Affected Consumers. The monetary judgment set forth in
 27   this section is immediately due and payable upon entry of this Order and is
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  1   enforceable against any asset owned by, on behalf of, for the benefit of, or in
  2   trust by or for Defendant.
  3         17.    Any funds received by the Bureau in satisfaction of the judgment
  4   in this section will be deposited into a fund or funds administered by the Bureau
  5   or to the Bureau’s agent according to applicable statutes and regulations to be
  6   used for redress for Affected Consumers, including but not limited to refund of
  7   moneys, restitution, damages or other monetary relief, and for any attendant
  8   expenses for the administration of any such redress.
  9         18.    If the Bureau determines, in its sole discretion, that providing
 10   redress to consumers is wholly or partially impracticable or if funds remain
 11   after the administration of redress is completed, the Bureau will deposit any
 12   remaining funds in the U.S. Treasury as disgorgement. Defendant will have no
 13   right to challenge the Bureau’s choice of remedies under this section and will
 14   have no right to contest the manner of distribution chosen by the Bureau.
 15         19.    Payment of redress to any Affected Consumer under this Order
 16   may not be conditioned on that Affected Consumer waiving any right.
 17                                         VIII.
 18                   Order to Pay Civil Money Penalty to Plaintiff
 19   IT IS FURTHER ORDERED that:
 20         20.    Under §§ 1042(a) 1055(c) of the CFPA, 12 U.S.C. §§ 5552(a),
 21   5565(c), by reason of Defendant’s violations of law and taking into account the
 22   factors in 12 U.S.C. § 5565(c)(3), Defendant must pay a civil money penalty of
 23   $20,000,000 to the Bureau.
 24         21.    The civil money penalty set forth in this section is immediately due
 25   and payable upon entry of this Order and is enforceable against any Asset
 26   owned by, on behalf of, for the benefit of, or in trust by or for Defendant.
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  1         22.    The civil money penalty paid under this Order will be deposited in
  2   the Civil Penalty Fund of the Bureau as required by § 1017(d) of the CFPA,
  3   12 U.S.C. § 5497(d).
  4                                          IX.
  5                          Additional Monetary Provisions
  6   IT IS FURTHER ORDERED that:
  7         23.    In the event of any default on Defendant’s obligations to make
  8   payment under this Order, interest, computed under 28 U.S.C. § 1961, as
  9   amended, will accrue on any outstanding amounts not paid from the date of
 10   default to the date of payment and will immediately become due and payable.
 11         24.    Defendant must relinquish all dominion, control, and title to the
 12   funds transferred or paid under this Order to the fullest extent permitted by law,
 13   and no part of the funds may be returned to Defendant.
 14         25.    The facts found in the Court’s order granting summary judgment to
 15   the Bureau will be taken as true and given collateral estoppel effect, without
 16   further proof, in any proceeding based on the entry of the Order, or in any
 17   subsequent civil litigation by or on behalf of the Bureau, including in a
 18   proceeding to enforce their rights to any payment or monetary judgment under
 19   this Order, such as a non-dischargeability complaint in any bankruptcy case.
 20         26.    The facts found in the Court’s order granting summary judgment to
 21   the Bureau establish all elements necessary to sustain an action by the Bureau
 22   under § 523(a)(2)(A) of the Bankruptcy Code, 11 U.S.C. § 523(a)(2)(A), and
 23   for such purposes this Order will have collateral estoppel effect against
 24   Defendant, even in such Defendant’s capacity as debtor-in-possession.
 25         27.    The civil penalty imposed by the Order represents a civil penalty
 26   owed to the United States Government, is not compensation for actual
 27   pecuniary loss, and, thus, is not subject to discharge under the Bankruptcy Code
 28   under 11 U.S.C. § 523(a)(7).

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  1         28.      Under 31 U.S.C. § 7701, Defendant, unless he has already done so,
  2   must furnish to the Bureau any taxpayer-identification numbers associated with
  3   him, which may be used for purposes of collecting and reporting on any
  4   delinquent amount arising out of this Order.
  5         29.      Within 30 days of the entry of a final judgment, order, or
  6   settlement in a Related Consumer Action, Defendant must notify the
  7   Enforcement Director of the final judgment, order, or settlement in writing.
  8   That notification must indicate the amount of redress, if any, that Defendant
  9   paid or is required to pay to consumers and describe the consumers or classes of
 10   consumers to whom that redress has been or will be paid. To preserve the
 11   deterrent effect of the civil money penalty in any Related Consumer Action,
 12   Defendant may not argue that he is entitled to, nor may Defendant benefit by,
 13   any offset or reduction of any monetary remedies imposed in the Related
 14   Consumer Action because of the civil money penalty paid in this action or
 15   because of any payment that the Bureau makes from the Civil Penalty Fund. If
 16   the court in any Related Consumer Action offsets or otherwise reduces the
 17   amount of compensatory monetary remedies imposed against Defendant based
 18   on the civil money penalty paid in this action or based on any payment that the
 19   Bureau makes from the Civil Penalty Fund, Defendant must, within 30 days
 20   after entry of a final order granting such offset or reduction, notify the Bureau
 21   and pay the amount of the offset or reduction to the U.S. Treasury. Such a
 22   payment will not be considered an additional civil money penalty and will not
 23   change the amount of the civil money penalty imposed in this action.
 24         30.      Defendant must treat the civil money penalty paid under this Order
 25   as a penalty paid to the government for all purposes. Regardless of how such
 26   funds are used, Defendant may not:
 27               a. claim, assert, or apply for a tax deduction, tax credit, or any other
 28                  tax benefit for any civil money penalty paid under this Order; or

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  1               b. seek or accept, directly or indirectly, reimbursement or
  2                  indemnification from any source, including but not limited to
  3                  payment made under any insurance policy, with regard to any civil
  4                  money penalty paid under this Order.
  5         31.      Upon written request of a representative of the Bureau, any
  6   consumer reporting agency must furnish consumer reports to the Bureau
  7   concerning Defendant under § 604(a)(1) of FCRA, 15 U.S.C.§ 1681b(a)(1),
  8   which may be used for purposes of collecting and reporting on any delinquent
  9   amount arising out of this Order.
 10                            COMPLIANCE PROVISIONS
 11                                            X.
 12                                Reporting Requirements
 13   IT IS FURTHER ORDERED that:
 14         32.      Defendant must notify the Bureau of any development that may
 15   affect compliance obligations arising under this Order, including but not limited
 16   to a dissolution, assignment, sale, merger, or other action that would result in
 17   the emergence of a successor company; the creation or dissolution of a
 18   subsidiary, parent, or affiliate that engages in any acts or practices subject to
 19   this Order; the filing of any bankruptcy or insolvency proceeding by or against
 20   Defendant; or a change in Defendant’s name or address. Defendant must
 21   provide such notice at least 30 days before the development, or as soon as
 22   practicable after learning of the development, whichever is sooner.
 23         33.      Within 7 days of the Effective Date, Defendant must:
 24                  a. designate at least one telephone number and email, physical,
 25                     and postal address as points of contact, which the Bureau may
 26                     use to communicate with Defendant;
 27                  b. identify all businesses for which Defendant is the majority
 28                     owner, or that Defendant directly or indirectly controls, by all

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  1                   of their names, telephone numbers, and electronic, physical, and
  2                   postal addresses;
  3                c. describe the activities of each such business, including the
  4                   products and services offered, and the means of advertising,
  5                   marketing, and sales;
  6                d. identify Defendant’s telephone numbers and all electronic,
  7                   physical, and postal addresses, including all residences; and
  8                e. describe in detail Defendant’s involvement in any business for
  9                   which he performs services in any capacity or which he wholly
 10                   or partially owns, including his title, role, responsibilities,
 11                   participation, authority, control, and ownership.
 12         34.    Within 14 days of the Effective Date, Defendant must submit to
 13   the Enforcement Director a completed financial statement accurate as of the
 14   Effective Date, using the form attached as Attachment A to this Order, and all
 15   documents requested in the form attached as Attachment A.
 16         35.    Defendant must report any change in the information required to
 17   be submitted under Paragraph 33 at least 30 days before the change, or as soon
 18   as practicable after learning about the change, whichever is sooner.
 19         36.    Within 90 days of the Effective Date, and again one year after the
 20   Effective Date, Defendant must submit to the Enforcement Director an accurate
 21   written compliance progress report sworn to under penalty of perjury
 22   (“Compliance Report”), which, at a minimum:
 23                a. lists each applicable paragraph and subparagraph of this Order
 24                   and describes in detail the manner and form in which such
 25                   Defendant has complied with each such paragraph and
 26                   subparagraph of this Order;
 27                b. describes in detail the manner in which and purposes for which
 28                   Defendant has used or obtained Consumer Reports; and

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  1                c. attaches a copy of each Order Acknowledgment obtained under
  2                   Section XI, unless previously submitted to the Bureau.
  3                                          XI.
  4                     Order Distribution and Acknowledgment
  5   IT IS FURTHER ORDERED that:
  6         37.    Within 7 days of the Effective Date, Defendant must submit to the
  7   Enforcement Director an acknowledgment of receipt of this Order, sworn under
  8   penalty of perjury.
  9         38.    Within 30 days of the Effective Date, Defendant, for any business
 10   for which he is the majority owner or which he directly or indirectly controls,
 11   must deliver a copy of this Order to each of its owners, board members,
 12   officers, LLC members and managers, and general and limited partners, as well
 13   as any managers, employees, or other agents and representatives who have
 14   responsibilities related to Consumer Reports.
 15         39.    Defendant, for any business for which he is the majority owner or
 16   which he directly or indirectly controls, must deliver a copy of this Order to any
 17   business entity resulting from any change in structure referred to in Section X,
 18   any future owners, board members, officers, LLC members and managers, and
 19   general and limited partners, as well as any managers, employees, or other
 20   agents and representatives who will have responsibilities related to Consumer
 21   Reports before they assume their responsibilities.
 22         40.    Defendant must secure a signed and dated statement
 23   acknowledging receipt of a copy of this Order, ensuring that any electronic
 24   signatures comply with the requirements of the E-Sign Act, 15 U.S.C. § 7001 et
 25   seq., within 30 days of delivery, from all persons receiving a copy of this Order
 26   under this section.
 27         41.    Within 90 days of the Effective Date, Defendant must provide the
 28   Bureau with a list of all persons and their titles to whom this Order was

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  1   delivered through that date under Paragraphs 38 and 39 and a copy of all signed
  2   and dated statements acknowledging receipt of this Order under Paragraph 40.
  3                                         XII.
  4                                   Recordkeeping
  5   IT IS FURTHER ORDERED that:
  6         42.    Defendant, for any business for which he is the majority owner or
  7   which he directly or indirectly controls, must create all documents and business
  8   records necessary to demonstrate full compliance with each provision of this
  9   Order, including all submissions to the Bureau. Defendant must retain these
 10   documents for at least 10 years after creation and make them available to the
 11   Bureau upon the Bureau’s request.
 12         43.    Defendant, for any business for which he is the majority owner or
 13   which he directly or indirectly controls, must maintain, for 10 years from the
 14   Effective Date, or 10 years after creation, whichever is longer:
 15                a. all records concerning Consumer Reports used or obtained; and
 16                b. all consumer complaints and refund requests (whether received
 17                   directly or indirectly, such as through a third party), and any
 18                   responses to those complaints or requests.
 19   Defendant must make these materials available to the Bureau upon the Bureau’s
 20   request.
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  1                                         XIII.
  2                                        Notices
  3   IT IS FURTHER ORDERED that:
  4         44.    Unless otherwise directed in writing by the Bureau, Defendant
  5   must provide all submissions, requests, communications, or other documents
  6   relating to this Order in writing, with the subject line, “CFPB v. Chou Team
  7   Realty, LLC, et al., Case No. 8:20-cv-00043-SB-ADS,” and send them by
  8   overnight courier or first-class mail to the below address, and
  9   contemporaneously by email to Enforcement_Compliance@cfpb.gov:
 10         Assistant Director for Enforcement
 11         Bureau of Consumer Financial Protection
 12         ATTENTION: Office of Enforcement
 13         1700 G Street, N.W.
 14         Washington D.C. 20552
 15                                         XIV.
 16                            Cooperation with the Bureau
 17   IT IS FURTHER ORDERED that:
 18         45.    Defendant must cooperate fully to help the Bureau determine the
 19   identity and location of, and the amount of injury sustained by, each Affected
 20   Consumer. Defendant must provide such information in his agents’ possession
 21   or control within 14 days of receiving a written request from the Bureau.
 22                                          XV.
 23                               Compliance Monitoring
 24   IT IS FURTHER ORDERED that:
 25         46.    Within 14 days of receipt of a written request from the Bureau,
 26   Defendant must submit additional compliance reports or other requested
 27   information, which must be sworn under penalty of perjury; provide testimony;
 28   or produce documents.

                                             17
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  1         47.   For purposes of this section, the Bureau may communicate directly
  2   with Defendant, unless Defendant retains counsel related to these
  3   communications.
  4         48.   Defendant must permit Bureau representatives to interview any
  5   employee or other person affiliated with Defendant who has agreed to such an
  6   interview. The person interviewed may have counsel present.
  7         49.   Nothing in this Order will limit the Bureau’s lawful use of
  8   compulsory process, under 12 C.F.R. § 1080.6.
  9                                        XVI.
 10                             Retention of Jurisdiction
 11   It is FURTHER ORDERED that:
 12         50.   The Court will retain jurisdiction of this matter for the purpose of
 13   enforcing this Order.
 14   It is SO ORDERED, this 23rd day of September, 2021.
 15
                                            _______________________________
 16                                         The Honorable Stanley Blumenfeld, Jr.
                                            United States District Judge
 17
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                                             18
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                           Attachment A
    to the Judgment Against Defendant Jawad Nesheiwat
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                                   CONSUMER FINANCIAL PROTECTION BUREAU

                          FINANCIAL DISCLOSURE FORM FOR INDIVIDUAL DEFENDANT

Instructions:

1       Complete all items. Enter “None” or “N/A” (“Not Applicable”) where appropriate. If you cannot fully answer a
question, explain why.
2       “Dependents” include your live-in companion, dependent children, or any other person, whom you or your spouse (or
your children’s other parent) claimed or could have claimed as a dependent for tax purposes at any time during the past five
years.
3       “Assets” and “Liabilities” include ALL assets and liabilities, located within the United States or elsewhere, whether held
individually or jointly.
4       Attach continuation pages as needed. On the financial disclosure form, state next to the Item number that the Item is
being continued. On the continuation page(s), identify the Item number(s) being continued.
5       Provide requested documents and information for the current fiscal year and the prior three complete fiscal years
through the signing of this document, unless specifically instructed otherwise.
6       Type or print legibly.
7       Initial each page in the space provided in the lower right corner.
8       Sign and date the completed financial disclosure form on the last page.

Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person in any:

(a) “matter within the jurisdiction of the executive, legislative, or judicial branch of the Government of the United States,
knowingly and willfully (1) falsifies, conceals or covers up by any trick, scheme, or device a material fact; (2) makes any false,
fictitious or fraudulent statement or representation; or (3) makes or uses any false writing or document knowing the same to
contain any false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);
(2) “statement under penalty of perjury as permitted under section 1746 of title 28, United States Code, willfully subscribes as
true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or
(3) “(...statement under penalty of perjury as permitted under section 1746 of title 28, United States Code) in any proceeding
before or ancillary to any court or grand jury of the United States knowingly makes any false material declaration or makes or
uses any other information...knowing the same to contain any false material declaration.” (18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the greater of
(i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any person or
pecuniary loss to any person other than the defendant, the greater of twice the gross gain or loss. 18 U.S.C. § 3571.




2                                                                                               Initials _____
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                                            BACKGROUND INFORMATION


Item 1. Information About You

Your Full Name ______________________________________________ Social Security No. ___________________

Place of Birth _________________________ Date of Birth _______________ Drivers License No. _______________

Current Address ______________________________________________________ From (Date) _________________

Rent or Own? _________ Telephone No. _________________________ Facsimile No. _________________________

E-Mail Address _____________________________________ Internet Home Page ____________________________

Previous Addresses for past five years:

Address___________________________________________ Rent or Own?________ From/Until_________________

Address___________________________________________ Rent or Own?________ From/Until_________________

Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they were

used________________________________________________________________________________________

Marital Status: ______________________ (i.e., Married, Single, Divorced, Widowed, Separated)

Item 2. Information About Your Spouse or Live-In Companion

Spouse/Companion's Name _____________________________________ Social Security No. ___________________

Place of Birth _________________________________________ Date of Birth _______________________________

Identify any other name(s) and/or social security number(s) your spouse/companion has used, and the time period(s) during

which they were used ________________________________________________________________________

Address (if different from yours) _____________________________________________________________________

From (Date) _________________________ Rent or Own?___________ Telephone No._________________________

Employer’s Name and Address ______________________________________________________________________

Job Title _______________________ Years in Present Job _________ Annual Gross Salary/Wages $______________


Item 3. Information About Your Previous Spouse

Previous Spouse’s Name & Address __________________________________________________________________

___________________________________ Social Security No. _________________ Date of Birth _______________



3                                                                                           Initials _____
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Item 4. Contact Information

Name & Address of Nearest Living Relative or Friend ___________________________________________________

____________________________________________________________ Telephone No. ______________________

Item 5. Information About Dependents Who Live With You

Name ______________________________________________ Date of Birth ________________________________

Relationship _________________________________________ Social Security No. ____________________________

Name ______________________________________________ Date of Birth ________________________________

Relationship _________________________________________ Social Security No. ____________________________

Name ______________________________________________ Date of Birth ________________________________

Relationship _________________________________________ Social Security No. ____________________________

Item 6. Information About Dependents Who Do Not Live With You

Name & Address ________________________________________________________________________________

Date of Birth __________________ Relationship ____________________ Social Security No.___________________

Name Address __________________________________________________________________________________

Date of Birth __________________ Relationship ____________________ Social Security No.__________________

Name & Address ________________________________________________________________________________

Date of Birth __________________ Relationship ____________________ Social Security No.__________________

Item 7. Employment Information

Provide the following information for this year-to-date and for each of the previous five full years, for each company of which
you were a director, officer, employee, agent, contractor, participant or consultant at any time during that period. “Income”
includes, but is not limited to, any salary, commissions, draws, consulting fees, loans, loan payments, dividends, royalties or
other benefits for which you did not pay (e.g., health insurance premiums, automobile lease or loan payments) received by you
or anyone else on your behalf.

Company Name & Address ________________________________________________________________________

Dates Employed: From (Month/Year) ________________________ To (Month/Year) _________________________

Positions Held with Beginning and Ending Dates ________________________________________________________

Income Received: This year-to-date:     $______________________ _______: $______________________

                        20_____:        $______________________ _______: $______________________

                        _______:        $______________________ _______: $______________________

4                                                                                             Initials _____
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Company Name & Address ________________________________________________________________________

Dates Employed: From (Month/Year) ________________________ To (Month/Year) _________________________

Positions Held with Beginning and Ending Dates ________________________________________________________

Income Received: This year-to-date:      $______________________ _______: $______________________

                        20_____:         $______________________ _______: $______________________

                        _______:         $______________________ _______: $______________________

Company Name & Address ________________________________________________________________________

Dates Employed: From (Month/Year) ________________________ To (Month/Year) _________________________

Positions Held with Beginning and Ending Dates ________________________________________________________

Income Received: This year-to-date:      $______________________ _______: $______________________

                        20_____:         $______________________ _______: $______________________

                        _______:         $______________________ _______: $______________________

Item 8. Pending Lawsuits Filed by You or Your Spouse

List all pending lawsuits that have been filed by you or your spouse in court or before an administrative agency.
(List lawsuits that resulted in final judgments or settlements in Items 16 and 25).

Opposing Party’s Name & Address ___________________________________________________________________

Court’s Name & Address ___________________________________________________________________________

Docket No. _________________ Relief Requested ____________________ Nature of Lawsuit ___________________

____________________________________ Status ______________________________________________________

Item 9. Pending Lawsuits Filed Against You or Your Spouse

List all pending lawsuits that have been filed against you or your spouse in court or before an administrative agency.
(List lawsuits that resulted in final judgments or settlements in Items 16 and 25).

Opposing Party’s Name & Address ___________________________________________________________________

Court’s Name & Address ___________________________________________________________________________

Docket No. _________________ Relief Requested ____________________ Nature of Lawsuit ___________________

____________________________________ Status ______________________________________________________




5                                                                                              Initials _____
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Item 10. Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by you, your spouse, or any of your dependents,
or held by others for the benefit of you, your spouse, or any of your dependents. On a separate page, describe the contents of
each box.

Owner’s Name             Name & Address of Depository Institution                                 Box No.
________________         _______________________________________________                   ________________________

_______________          ____________________________________________                      ______________________

Item 11. Business Interests

List all businesses for which you, your spouse, or your dependents are an officer or director.

Business’ Name & Address ________________________________________________________________________

Business Format (e.g., corporation) __________________________ Description of Business _____________________

______________________________ Position(s) Held, and By Whom _______________________________________

Business’ Name & Address ________________________________________________________________________

Business Format (e.g., corporation) __________________________ Description of Business _____________________

______________________________ Position(s) Held, and By Whom _______________________________________

Business’ Name & Address ________________________________________________________________________

Business Format (e.g., corporation) __________________________ Description of Business _____________________

______________________________ Position(s) Held, and By Whom _______________________________________




6                                                                                                Initials _____
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                                FINANCIAL INFORMATION: ASSETS AND LIABILITIES

REMINDER: “Assets” and “Liabilities” include ALL assets and liabilities, located within the United States or elsewhere,
whether held individually or jointly.

Item 12. Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by you, your spouse, or your dependents, or held by others for the benefit of you, your spouse, or
your dependents. The term “cash” includes currency and uncashed checks.

Cash on Hand $____________________________ Cash Held For Your Benefit $____________________________

Name on Account          Name & Address of Financial Institution                   Account No.                   Current Balance

_________________ __________________________________________________ _______________ $__________

_________________ __________________________________________________ _______________ $__________

_________________ __________________________________________________ _______________ $__________

_________________ __________________________________________________ _______________ $__________

_________________ __________________________________________________ _______________ $__________

_________________ __________________________________________________ _______________ $__________


Item 13. U.S. Government Securities

List all U.S. Government securities, including but not limited to, savings bonds, treasury bills, and treasury notes, held by you,
your spouse, or your dependents, or held by others for the benefit of you, your spouse, or your dependents.

Name on Account     Type of Obligation                             Security Amount                  Maturity Date
____________________ ________________________                      $________________                _____________

___________________ ________________________                       $________________                _____________

___________________ _________________________                      $________________                _____________

Item 14. Publicly Traded Securities and Loans Secured by Them

List all publicly traded securities, including but not limited to, stocks, stock options, registered and bearer bonds, state and
municipal bonds, and mutual funds, held by you, your spouse, or your dependents, or held by others for the benefit of you, your
spouse, or your dependents.

Issuer _______________________________ Type of Security __________________ No. of Units Owned ________

Name on Security _________________ Current Fair Market Value $______ Loan(s) Against Security $__________

Broker House, Address _____________________________________________ Broker Account No. ____________



7                                                                                               Initials _____
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Item 15. Other Business Interests

List all other business interests, including but not limited to, non-public corporations, subchapter-S corporations, limited liability
corporations (“LLCs”), general or limited partnership interests, joint ventures, sole proprietorships, and oil and mineral leases,
held by you, your spouse, or your dependents, or held by others for the benefit of you, your spouse, or your dependents.

Business Format _____________________________ Business’ Name & Address____________________________

_________________________________________________________________________ Ownership % ________

Owner (e.g., self, spouse) ________________________________ Current Fair Market Value $_________________

Item 16. Monetary Judgments or Settlements Owed to You, Your Spouse, or Your Dependents

List all monetary judgments or settlements owed to you, your spouse, or your dependents.

Opposing Party’s Name & Address__________________________________________________________________

Court’s Name & Address __________________________________________________

Docket No. _______________ Nature of Lawsuit ______________________________

Date of Judgment _______________ Amount $____________

Item 17. Other Amounts Owed to You, Your Spouse, or Your Dependents

List all other amounts owed to you, your spouse, or your dependents.

Debtor’s Name, Address, & Telephone No. _________________________________________________________

Original Amount Owed $_____________ Current Amount Owed $____________ Monthly Payment $____________

Item 18. Insurance Policies

List all insurance policies, held by you, your spouse, or your dependents, including any life insurance policies, and riders, and
any other policy that you, your spouse or your dependents, would receive reimbursement or indemnification for related to your
legal fees or any remedies entered against you.

Insurance Company’s Name, Address, & Telephone No._________________________________________________

Insured ________________________ Beneficiary _______________________ Face Value $___________________

Policy No. _________________ Loans Against Policy $________________ Surrender Value $_________________

Insurance Company’s Name, Address, & Telephone No.________________________________________________

Insured ________________________ Beneficiary _______________________ Face Value $___________________

Policy No. _________________ Loans Against Policy $________________ Surrender Value $__________________




8                                                                                                Initials _____
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Item 19. Deferred Income Arrangements

List all deferred income arrangements, including but not limited to, deferred annuities, pensions plans, profit-sharing plans,
401(k) plans, IRAs, Keoghs, and other retirement accounts, held by you, your spouse, or your dependents, or held by others for
the benefit of you, your spouse, or your dependents.

Name on Account _________________________ Type of Plan ___________________ Date Established _________

Trustee or Administrator’s Name, Address & Telephone No.______________________________________________

Account No. ______________________ Surrender Value $___________________


Name on Account _________________________ Type of Plan ___________________ Date Established__________

Trustee or Administrator’s Name, Address & Telephone No.______________________________________________

Account No. ______________________ Surrender Value $___________________

Item 20. Personal Property

List all personal property, by category, whether held for personal use or for investment, including but not limited to, furniture
and household goods of value, computer equipment, electronics, coins, stamps, artwork, gemstones, jewelry, bullion, other
collectibles, copyrights, patents, and other intellectual property, held by you, your spouse, or your dependents, or held by others
for the benefit of you, your spouse, or your dependents.

Property Category          Name of Owner      Property Location      Acquisition    Current
(e.g., artwork, jewelry)                                             Cost           Value
___________________ __________________ _______________        $_________     $________

___________________ __________________ _______________                     $_________       $________

___________________ __________________ _______________                     $_________       $________

___________________ __________________ _______________                     $_________       $________

___________________ __________________ _______________                     $_________       $________

Item 21. Cars, Trucks, Motorcycles, Boats, Airplanes, and Other Vehicles

List all cars, trucks, motorcycles, boats, airplanes, and other vehicles owned or operated by you, your spouse, or your
dependents, or held by others for the benefit of you, your spouse, or your dependents.

Vehicle Type __________________ Make ____________________ Model ______________________ Year_______

Registered Owner’s Name __________________________ Registration State & No.__________________________

Address of Vehicle’s Location _____________________________________________________________________

Purchase Price $_______________Current Value $_______________ Account/Loan No._______________________

Lender’s Name and Address_______________________________________________________________________

Original Loan Amount $______________ Current Loan Balance $______________ Monthly Payment $_________
9                                                                                               Initials _____
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Mileage ________________ Current condition of car ________________________ Purchase date ______________


Vehicle Type __________________ Make ____________________ Model ______________________ Year ______

Registered Owner’s Name __________________________ Registration State & No. _________________________

Address of Vehicle’s Location _____________________________________________________________________

Purchase Price $_______________Current Value $_______________ Account/Loan No._______________________

Lender’s Name and Address_______________________________________________________________________

Original Loan Amount $______________ Current Loan Balance $______________ Monthly Payment $_________

Mileage ________________ Current condition of car ________________________ Purchase date ______________

Item 22. Real Property

List all real estate held by you, your spouse, or your dependents, or held by others for the benefit of you, your spouse, or your
dependents.

Type of Property________________________________ Property’s Location_______________________________

Name(s) on Title and Ownership Percentages__________________________________________________________

Acquisition Date________________ Purchase Price $____________________ Current Value $_________________

Basis of Valuation_______________________________________ Loan or Account No._______________________

Lender’s Name and Address_______________________________________________________________________

Current Balance On First Mortgage $__________________ Monthly Payment $__________

Other Loan(s) (describe)_________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $___________

Type of Property________________________________ Property’s Location_______________________________

Name(s) on Title and Ownership Percentages__________________________________________________________

Acquisition Date________________ Purchase Price $____________________ Current Value $_________________

Basis of Valuation_______________________________________ Loan or Account No._______________________

Lender’s Name and Address_______________________________________________________________________

Current Balance On First Mortgage $__________________ Monthly Payment $__________

Other Loan(s) (describe)_________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $___________
10                                                                                              Initials _____
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Item 23. Digital Assets

Have you used or held a Digital Asset, including but not limited to cryptocurrencies, tokens (e.g. security tokens, non-fungible
tokens, utility tokens, e-Money tokens), stablecoins, and/or smart contracts Yes/No

This Digital Asset section does NOT request that you provide information necessary to transfer, dispose of or otherwise exert
control over the digital asset.

If yes, and the value of the asset is greater than $2,500, list and describe all Digital Assets 1, including but not limited to all
cryptocurrency, tokens (e.g. security tokens, non-fungible tokens, utility tokens, e-Money tokens), stablecoins, and smart
contracts held or used by you, your spouse, or your dependents.

Provide a copy of account statements received or available from a cryptocurrency exchange, IRS forms 1099-K, 1099-B or
1099-MISC received from a cryptocurrency exchange, or a money services business, and include Form 8949, as filed with your
tax returns (see also, Item 29. Tax Returns).

In response, please include the name of the Digital Asset, amount (number of coins/tokens), acquisition date, acquisition value,
disposition date; and identify how the company received each Digital Asset, whether transferred, retrieved, exchanged,
purchased or otherwise acquired in exchange for value.

    Name of         Description     Amount           Acquisition        Acquisition         Disposition        Disposition How
    Digital Asset   of Digital      (e.g.,           Date               Value (USD)         Date               Value       Sent/Received
    and Symbol      Asset (e.g.     number of                                                                  (USD)       (e.g.
    (e.g.,          coin,           coins,                                                                                 transferred,
    Bitcoin,        security        tokens)                                                                                retrieved,
    Ether)          token,                                                                                                 exchanged,
                    stablecoin)                                                                                            purchased,
                                                                                                                           etc.)




List all exchanges, including centralized and decentralized (e.g. peer-to-peer exchanges) exchanges, where the company
engaged in Digital Asset transactions and the wallet where the digital asset is stored.

In response to this section, include the name and description of the exchange, any account number for the affiliated exchange
and the amounts of assets currently held at the exchange.

Also include, all wallets where the Digital Asset is stored, including the wallet address/identifier, whether the wallet is hosted or
un-hosted, the type of wallet (e.g. mobile, desktop, hardware, or other cold wallet); and, if an un-hosted wallet, provide the
physical address and digital identifiers for that wallet.

    Name of Digital      Name and             Account              Wallet                     Wallet             Amount and kind
    Asset/Symbol         Description of       Numbers              Address/Identifier         Description,       of Assets Held
    (e.g., Bitcoin,      Exchange                                  And/or Physical            including          (number and name
    Ether)                                                         Address                    Type and           of each kind of
                                                                                              Hosted/Un-         coins/tokens)
                                                                                              Hosted



1
  The term “Digital Asset,” as used in this document, refers to an asset that is issued and transferred using distributed ledger or blockchain
technology, including, but not limited to, “cryptocurrency,” “virtual currency,” “coins,” “stablecoins,” and “tokens.” (in part from
https://www.sec.gov/files/dlt-framework.pdf)
11                                                                                                         Initials _____
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For all transactions effected by a peer-to-peer, decentralized exchange, provide all HASH or Transaction IDs, all Public Keys,
and any other identifiers:

 Name of Digital         Amount and kind        HASH/Transaction Public Keys              Other Identifiers
 Asset/Symbol (e.g.,     of Assets Held         IDs
 Bitcoin, Ether)         (number and name
                         of each kind of
                         coins/tokens)




Did you over the last three years, or do you presently, participate in any crypto-mining and staking or crypto lending? Yes/No

Please list all additional income received from Digital Asset-related activity, including income from crypto-mining and staking,
airdrops, hard forks and crypto lending interest:______________________________________________

Please list all smart contracts that you have entered into in exchange for any income, future income, or an
asset:______________________________________________

For each smart contract that the company has entered into, provide the description of the contract, amount, electronic signature
date, current value, description of the oracle, and the blockchain and/or distributed ledger where the smart contract has been or
will be executed, in the below table:

 Description           Amount               Electronic            Current Value         Oracle                DTL/Blockchain
                                            Signature Date        (in USD)



Item 24. Other Assets

List all other assets not identified above, held by you, your spouse, or your dependents, including but not limited to, patents and
other intellectual property.

Description                         Location                              Acquisition   Current
                                                                           Cost Value
____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________




12                                                                                               Initials _____
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Item 25. Credit Cards

List each credit card held by you, your spouse, or your dependents. Also list any other credit cards that you, your spouse, or
your dependents use.

Name of Credit Card (e.g., Visa,          Account No.             Name(s) on    Current        Minimum
MasterCard, Department Store)                              Account      Balance         Monthly Payment

_______________________ __________________ _________________ $____________ $________________

_______________________ __________________ _________________ $____________ $________________

_______________________ __________________ _________________ $____________ $________________

_______________________ __________________ _________________ $____________ $________________

_______________________ __________________ _________________ $____________ $________________

_______________________ __________________ _________________ $____________ $________________



Item 26. Taxes Payable

List all taxes, such as income taxes or real estate taxes, owed by you, your spouse, or your dependents.

Type of Tax                      Amount Owed                                Year Incurred _______________________________
$__________________________ ___________________

_______________________________ $__________________________ ___________________

_______________________________ $__________________________ ___________________

_______________________________ $__________________________ ___________________

Item 27. Judgments or Settlements Owed

List all judgments or settlements owed by you, your spouse, or your dependents.

Opposing Party’s Name & Address__________________________________________________________________

Court’s Name & Address____________________________________________________

Docket No._____________ Nature of Lawsuit_______________________________________

Date______________ Amount $______________



Item 28. Other Loans and Liabilities

List all other loans or liabilities in your, your spouse’s, or your dependents’ names.

Name & Address of Lender/Creditor ________________________________________________________________
13                                                                                             Initials _____
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Nature of Liability___________________________________ Name(s) on Liability__________________________

Date of Liability___________________ Amount Borrowed $________________ Current Balance $______________

Payment Amount $_____________________ Frequency of Payment_____________________

Name & Address of Lender/Creditor ________________________________________________________________

Nature of Liability_____________________________________ Name(s) on Liability_________________________

Date of Liability___________________ Amount Borrowed $________________ Current Balance $______________

Payment Amount $_____________________ Frequency of Payment_____________________




14                                                                               Initials _____
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                                             OTHER FINANCIAL INFORMATION

Item 29. Tax Returns

List all federal tax returns that were filed during the last three years by or on behalf of you, your spouse, or your dependents.
Provide a copy of each signed tax return that was filed during the last three years, including amendments (if any).

Tax Year            Name(s) on Return                                           Refund Expected
___________ ____________________________________________________________ $_______________

___________ ____________________________________________________________ $_______________

___________ ____________________________________________________________ $_______________

Item 30. Applications for Credit

List all applications for bank loans or other extensions of credit that you, your spouse, or your dependents have submitted within
the last two years. Provide a copy of each application, including all attachments.

Name(s) on Application                  Name & Address of Lender
________________________          ____________________________________________________________

________________________          ____________________________________________________________

Item 31. Trusts and Escrows

List all trusts, escrows or other entities holding funds or other assets for which you, your spouse, or dependents have any benefit
or legal interest in, directly or indirectly. Provide copies of all documents related to the creation, control or administration of the
entity and the assets in the entity, and any amendments. For each entity list:

Name and Address of the trust: __________________________________________________________________

Name and Address of any Trustee, Escrow Agent or other person with authority over the entity or its assets including any person
with dominion, use, administrative control or ownership of the subject assets and identify that person’s
role:_______________________________________________________________________________________

Date Established and any date of amendments:_____________________________________________________

Name and Address of any Settlor, Grantor or other persons who have at any time conveyed assets to the
entity:______________________________________________________________________________________

Name and Address of any Protector or other persons capable of directing the actions of any party that is administering the entity:
___________________________________________________________________________________

Name and Address of any Beneficiary or other person that can receive any value or benefit from the
entity:______________________________________________________________________________________

The present market value of the assets with a description of how that value was
calculated:__________________________________________________________________________________

A description of any uses made of the assets while situated in the entity, including but not limited to any loans from the assets or
use of the assets as collateral or guaranty or any investments or income involving the
assets:______________________________________________________________________________________

15                                                                                                Initials _____
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Item 32. Transfers of Assets

List all payments, transfers, or assignments of assets worth more than $2,500, in the aggregate, to any individual or entity
during the previous three years. For each such person, state the total amount transferred during that period.

Transferee’s Name, Address, & Relationship                  Property         Aggregate        Transfer             Type of Transfer
                                                            Transferred      Value Date                            (e.g., Loan, Gift)

______________________________________ ________________ $____________ __________ _______________

______________________________________ ________________ $____________ __________ _______________

______________________________________ ________________ $____________ __________ _______________

______________________________________ ________________ $____________ __________ _______________

______________________________________ ________________ $____________ __________ _______________

Item 33. Foreign Assets and Liabilities

In any location outside of the United States, do you, or your spouse, or your dependents have any of the following:

Do you, your spouse, or your dependents have, in any location outside of the United States, any assets not otherwise identified
in this disclosure (including, but not limited to real estate, bank accounts, investments, or other financial products)?

                                                                                                       Yes/No

Do you, your spouse or your dependents have, in any location outside of the United States, any liabilities not otherwise
identified in this disclosure (including, but not limited to liens, credit card debt or other financial obligations)?

                                                                                                       Yes/No

If yes, to any of the above, please separately list below each asset and liability category, their location, the acquisition cost and
current value. Please include a copy of all Reports of Foreign Bank and Financial Accounts (FBAR) filings.

Asset Category                      Asset Location                       Acquisition  Current
                                                                         Cost         Value
____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

Liability Category                  Liability Location                   Acquisition  Current
                                                                         Cost         Value
____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________
16                                                                                                Initials _____
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Item 34. Foreign Positions

Have you, your spouse or your dependents been involved in the creation of, or have any interest in, any asset or entity located
outside the United States? Yes/No

Have you, your spouse or your dependents, in the last three years, transferred or been involved in the transfer of any income or
assets to any entity outside the United States? Yes/No

Do you, your spouse or your dependents hold any corporate office or partnership in any entity located outside the United States?
Yes/No

Are you, your spouse or your dependents the trustee, escrow agent or similar role in any trust or similar entity outside the United
States? Yes/No

If yes to any of the above, please separately list below the assets and their value, the recipient or transferee entity of the assets,
the country under which such entity is organized and your, your spouse, or your dependent’s position with such entity. Please
include a copy of all organizing or controlling documents and any amendments for each such entity.

Name of Entity or Trust                    Country
________________________                   ____________________________________________________________

________________________                    ____________________________________________________________

Item 35. Credit Report

Provide a copy of you and your spouse’s most recent credit report, within the last 60 days upon receipt of this form, from a
credit bureau.




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                                  SUMMARY FINANCIAL SCHEDULES

Item 36. Combined Balance Sheet for You, Your Spouse, and Your Dependents

 ASSETS                                                 LIABILITIES
 Cash on Hand (Item 12)                                 Credit Cards (Item 25)

 Cash in Financial Institutions                         Motor Vehicles - Liens (Item
 (Item 12)                                              21)
 U.S. Government Securities                             Real Property -
 (Item 13)                                              Encumbrances (Item 22)
 Publicly Traded Securities                             Loans Against Publicly
 (Item 14)                                              Traded Securities (Item 14)
 Other Business Interests                               Taxes Payable (Item 26)
 (Item 15)
 Judgments or Settlements                               Judgments or Settlements
 Owed to You (Item 16)                                  Owed (Item 27)
 Other Amounts Owed to You
 (Item 17)
 Surrender Value of Life                                Other Loans and Liabilities
 Insurance (Item 18)                                    (Item 28)
 Deferred Income                                        Foreign Liabilities (Item 34)
 Arrangements (Item 19)
 Personal Property (Item 20)                            Other Liabilities (Itemize):

 Motor Vehicles (Item 21)

 Real Property (Item 22)

 Digital Assets (Item 23)

 Foreign Assets (Item 34)

 Other Assets (Itemize):




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Item 37. Combined Average Monthly Income and Expenses for You, Your Spouse, and Your Dependents for
the Last 6 Months

Provide the average monthly income and expenses for you, your spouse, and your dependents for the last 6 months. Do not
include credit card payments separately; rather, include credit card expenditures in the appropriate categories.




     INCOME                                              EXPENSES
     Salary - After Taxes                $___________    Mortgage Payments for Residence(s)                 $___________
     Fees, Commissions, and              $___________                                                       $___________
                                                         Property Taxes for Residence(s)
     Royalties
                                                         Rental Property Expenses, Including
     Interest                            $___________    Mortgage Payments, Taxes, and Insurance            $___________
                                                         Car or Other Vehicle Lease or Loan
     Dividends and Capital Gains         $___________    Payments                                           $___________
     Gross Rental Income                 $___________    Food Expenses                                      $___________
     Profits from Sole Proprietorships   $___________    Clothing Expenses                                  $___________
     Distributions from Partnerships,
     S-Corporations, and LLCs            $___________    Utilities                                          $___________
     Distributions from Trusts and
     Estates                             $___________    Medical Expenses, Including Insurance              $___________
     Distributions from Deferred
     Income Arrangements                 $___________    Other Insurance Premiums                           $___________
     Social Security Payments            $___________    Other Transportation Expenses                      $___________
     Alimony/Child Support               $___________                                                       $___________
                                                         Other Household Expenses
     Received
     Gambling Income                     $___________    Other Expenses (Itemize)
     Digital Assets Income               $___________
     Other Income (Itemize)                              _________________________________                  $___________
     __________________________          $___________    _________________________________                  $___________
     __________________________          $___________    _________________________________                  $___________
     __________________________          $___________    _________________________________                  $___________
     Total Income                        $ ___________   Total Expenses                                     $___________




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                                                       ATTACHMENTS

Item 38. Documents Attached to this Financial Disclosure Form

Indicate whether the below documents are being submitted with the financial disclosure form.

Item No. Document       Description of Document
Relates To

Item 23.                Digital Asset Account Statements and Tax Forms                             Yes/Not Applicable
Item 29.                Tax Returns                                                                Yes/Not Applicable
Item 30.                Applications of Credit                                                     Yes/Not Applicable
Item 31.                Trusts and Escrows Documents                                               Yes/Not Applicable
Item 33.                Reports of Foreign Bank & Financial Account Filings                        Yes/Not Applicable
Item 35.                Credit Report                                                              Yes/Not Applicable

List any other documents and forms as well as the item number, in the financial form, the document relates to and a description of
the document.

Item No. Document               Description of Document
Relates To
______________                  _______________________________________________________________________

______________                  _______________________________________________________________________

______________                  _______________________________________________________________________

______________                  _______________________________________________________________________

______________                  _______________________________________________________________________

______________                  _______________________________________________________________________




20                                                                                             Initials _____
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WARNING:
I am submitting this financial disclosure form with the understanding that it may affect action by the Consumer Financial
Protection Bureau or a federal court. The responses I have provided to the items above are true and contain all the requested facts
and information of which I have notice or knowledge. I have provided all requested documents in my custody, possession, or
control. I further declare that I have no assets, owned either directly or indirectly (including owned by my spouse or dependents),
or income of any nature other than as shown in, or attached to, this statement. I understand that the Consumer Financial Protection
Bureau is a federal agency and that this financial disclosure form is being submitted in connection with a matter within its
jurisdiction. I understand that a false, fictitious, or fraudulent statement or representation on this form, or the concealment of any
material fact is a violation of Federal law and could result in criminal prosecution, and significant civil penalties. I understand that
a false statement is punishable under 18 U.S.C. §§ 1001 and 3571 by imprisonment of not more than five years and/or a fine of up
to $250,000.

Executed on:
______________________                                              _________________________________
(Date)                                                              Signature




21                                                                                                Initials _____
